 Case: 1:22-cv-05273 Document #: 88 Filed: 02/27/24 Page 1 of 1 PageID #:1189

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

John Doe
                                Plaintiff,
v.                                                   Case No.: 1:22−cv−05273
                                                     Honorable Martha M. Pacold
University of Chicago
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 27, 2024:


        MINUTE entry before the Honorable Martha M. Pacold: Pursuant to the
Stipulation of Dismissal [87], this case is hereby dismissed with prejudice, with each party
bearing their own attorney's fees and costs. Defendant's motion to dismiss [59] is denied
as moot. Civil case terminated. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
